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DECLARATION OF NANCY L.
I, NANCY L., declare as follows:
1. I make this declaration based on my own personal knowledge and if

called as a witness, I could and would testify to the following matters.

2. Iam the sister of Daniel Ramirez Medina.

3. My brother and I grew up together and lived together until he left for
Washington. While living together, | saw Daniel nearly everyday. While living
together, I saw Daniel nearly everyday. Daniel is very shy and quiet. When he’s with
family, he can be talkative and he’s very affectionate and kind, but around other
people he’s timid. He is not a violent person. If somebody tried to pick a fight with
him at school.or actually hit him, he wouldn’t fight back. He’d just shield himself and
try to walk away.

4, My brother was bullied at school because of his weight. I think that’s
why my brother wears loose clothing and dresses in dark colors, because he hoped that
would make it harder for people to notice he was overweight. Kids in high school can
be mean, and I think they realized that was one of my brother’s insecurities.

5. My brother dropped out of high school when he was an underclassman.
At the time, my mom was having a hard time financially and my brother felt that he
could help more at home if he worked. He tried to go back to school a few years later
in order to get his high school diploma, but his son had just been born and he felt a lot
of pressure to work in order to support him. I know my brother wants to go back to
school and get his high school diploma. He wants to get a better job, and he realizes
that in order to get that kind of job he needs a high school diploma. My brother really
likes cars. He likes working on them in order to fix them and understand how they
work. I think his dream job would be to be a driver.

6. My brother is a great father. When his son, Daniel Jr., was born he was so
excited to hold him and care for him. When Daniel Jr. is staying with him, he spends

as much time with him as possible. As soon as he gets home from work he takes

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DECLARATION OF NANCY L.
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Daniel Jr. to the park or watches TV with him. My nephew misses him a lot right now.
Yesterday he saw a picture of his dad on the news and he kept asking me to pull up the
picture on my phone because he wanted to see his dad.

7. Daniel moved to Seattle, Washington in December of 2016. He left
because he wanted to get a better job in order to provide his son with a better life.
Daniel’s motivation is his family, and he wanted to get a job that would allow him to
start saving money in order to buy a house so his son could have a home and so my
mom had her own little place.

8. Daniel has never been in a gang. I grew up with him and I know he
doesn’t like that stuff. I’m very sad to hear what people are saying about him on the
news, because if people knew him, they’d know that he would never be involved in
anything that would put his child at risk.

9. My brother visited Los Angeles once or twice, years ago, because he was
dating a girl that lived there. I went to Los Angeles with him and was with him the
whole time. We were there for less than a day, one of the times only for two hours. We
did not do anything that was gang affiliated.

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DECLARATION OF NANCY L.

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10. | My brother has only one tattoo on his forearm. It says “La Paz, BCS,”
where “BCS” stands for Baja California Sur, or Southern Baja California, which is
where he was born. Underneath the letters there’s a star, which he said he got because
he saw it and he thought it looked cool. My brother does not associate the tattoo with al
gang. | think he just wanted to have something that reminded him of where he came
from and he thought it looked cool. He lived in Baja California for longer than I did
and remembers more than I do. I think he just wanted a memory of it, even though the
United States is his home.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct. Executed on February 16, 2017, in

Lindsay, California.

Manni LL.
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DECLARATION OF NANCY L.
